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                          EXHIBIT A
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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                         WEST PALM BEACH DIVISION
                             CASE NO. 19-81160-CIVIL-SMITH
     3

     4    APPLE, INC.,                            West Palm Beach, Florida

     5                     Plaintiff,             February 12, 2020
                                                        -and-
     6               vs.                          February 13, 2020

     7    CORELLIUM, LLC,

     8                   Defendant.          Pages 1 to 368
          ______________________________________________________________
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    10                             MOTION HEARING
                      BEFORE THE HONORABLE WILLIAM MATTHEWMAN,
    11                     UNITED STATES MAGISTRATE JUDGE
                   (TRANSCRIBED FROM THE DIGITAL AUDIO RECORDING)
    12
          APPEARANCES:
    13

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     1             MS. CONSTANTINE:     I can answer that, your Honor:

     2             During that due diligence portion of Corellium's

     3    potential acquisition by Apple, Corellium provided all of its

     4    technology to Apple.

     5             We just want to make sure that none of that technology

     6    has been -- it's being utilized by Apple.        And that's why the

     7    interrogatory was framed this way.

     8             THE COURT:    All right.    Let me hear from Ms. Bina.

     9             MS. STEBBINS BINA:      So, your Honor, that last point is

    10    the first I've heard, but also way beyond the scope of this

    11    case.

    12             They don't have a claim for infringement of their

    13    technology.    And the fact that they showed a demo to Apple

    14    doesn't somehow open the field into Apple's own internal

    15    development of hypervisor emulation simulation virtualization.

    16    If they want to ask a question, "Are you using any of

    17    Corellium's technology," we could answer that question.           The

    18    answer is no.

    19             THE COURT:    Hypervisor is Corellium's?

    20             MS. STEBBINS BINA:      Hypervisor is Corellium's.

    21             And, your Honor, in our complaint, we name I think two

    22    products that we believe compete with Corellium.          But not

    23    because they're hypervisors; because they're security product

    24    research tools that Apple offers to the public.

    25             And Corellium didn't ask us an interrogatory about
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     1    those products.    That probably would be relevant.

     2               Instead, they asked us about internal development of

     3    completely different products.

     4               So we just don't think that's relevant.

     5               THE COURT:    All right.   I'll tell you what -- here's

     6    what I'm going to do:      I'm going to deny the motion to compel

     7    on 12.   However, if Corellium wishes to amend its interrogatory

     8    request to have Apple state whether they are using

     9    hypervisor --

    10               MS. STEBBINS BINA:     Corellium's hypervisor, your Honor.

    11               THE COURT:    Right.   Corellium's hypervisor, whether

    12    they are using that software, you can certainly do that.           In

    13    other words, if they are using that software, then that may be

    14    something that might be relevant.

    15               But I don't think that -- this question almost

    16    presupposes that they are using Corellium's hypervisor, because

    17    it says:    Identify and describe Apple's internal development of

    18    hypervisor.

    19               MR. LEVINE:    Well, your Honor, I mean, this entire case

    20    is based upon copyright infringement.        It's the use of an

    21    identical product.       And so if they're conceding that they're

    22    not using anything like it, then why are we here?

    23               THE COURT:    Not anything like it; they're conceding

    24    that they're not using Apple's hypervisor -- I mean,

    25    Corellium's hypervisor.
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     1    that virtualization is not a competing product?

     2             MS. STEBBINS BINA:      Right, your Honor.     Exactly.

     3             What is alleged to have been infringed here is iOS,

     4    iTunes and GUI elements.      What is alleged to be a competing

     5    product are not virtualization products.

     6             They're trying to go back and say:        Look into Apple's

     7    own internal development and see essentially, is it doing

     8    something similar internally to what they think Corellium is

     9    doing?

    10             And that's just totally outside the scope of

    11    appropriate discovery here.      You know, we cited authority in

    12    our opposition that says there's nothing that says, you know,

    13    how we copyrighted work -- the research, development and

    14    testing of a copyrighted work is relevant.

    15             THE COURT:    So what do you assert the competing

    16    products are?

    17             MS. STEBBINS BINA:      Their security products.

    18             So there are other products that people can use to help

    19    identify bugs in Apple or fix flaws in iOS.         But they don't --

    20    so the way virtualization works is it puts on a computer what

    21    would be on a phone and allows you to look at the code.

    22             The competing products don't work that way.          They do

    23    something different.     And I apologize.     I don't have the exact

    24    details of what they do.      But we're happy to provide discovery

    25    on those products and how they work.
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     1               They haven't sought that.     And they're not seeking that

     2    through this RFP.

     3               THE COURT:   All right.   Ms. Constantine --

     4               MS. CONSTANTINE:   Your Honor --

     5               THE COURT:   -- about those products that they're

     6    asserting are the competing products, have you sought discovery

     7    on those?

     8               MS. CONSTANTINE:   We believe we have with this request.

     9    They were making the claim that the competing product was a

    10    virtualization.

    11               THE COURT:   But that's not what they're saying.

    12               MS. CONSTANTINE:   Correct, your Honor.

    13               THE COURT:   What they're saying is that something --

    14    they're security products.

    15               MS. CONSTANTINE:   They're saying now -- they're

    16    changing their previous statement, saying that our -- that the

    17    Corellium product does not necessarily compete and that they

    18    have other products that do something different.          We need to

    19    know how those products work to be able to show that there's a

    20    transformative nature to our product.

    21               In the past, they have made statements that they have

    22    virtualizations or other types of similar products that

    23    Corellium provides and that we're competing in the same

    24    markets.    How can we prove that we are competing in the same

    25    markets and providing the same and similar products if we are
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     1    not even able to see that these products have the same

     2    technology or have the same value or go to the same -- the same

     3    people?

     4               THE COURT:    It seems like we're talking apples and

     5    oranges.    You're talking virtualization and they're talking

     6    security products.       Where is it that they said that

     7    virtualization was a competing product?

     8               MS. CONSTANTINE:    Your Honor, they made the statement.

     9               THE COURT:    Where?

    10               MS. CONSTANTINE:    I'm not sure where.     It was in --

    11               THE COURT:    Is it in their complaint?

    12               MS. CONSTANTINE:    It was --

    13               MR. LEVINE:    It's inherently in copyright.     If it's not

    14    competing, then this case --

    15               THE COURT:    Well, let me just -- there's enough

    16    double-teaming going on.

    17               MR. LEVINE:    I'm sorry, your Honor.

    18               THE COURT:    So just hold on a second.

    19               Where -- do they make it in their complaint?        I mean,

    20    where are they -- you're saying that Apple says that

    21    virtualization is the competing product, and therefore you have

    22    to get discovery into all their virtualization.

    23               Then I'm hearing from Apple that they're not saying

    24    that virtualization is a competing product, that it's security

    25    products that are competing products.
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     1             Do I have that right so far from Apple?

     2             MS. STEBBINS BINA:      Yes, your Honor.    And they're

     3    actually named in our complaint, what we believe is

     4    competitive.

     5             THE COURT:    All right.    So if they're saying -- they're

     6    on the record and they haven't named it in the complaint that

     7    the virtualization product is a competing product, why do we

     8    need discovery on it as a competing product?         They're saying

     9    it's not, so they're not going to be able to argue at summary

    10    judgment or at trial that it is.       So why have discovery on it?

    11    I mean, haven't you gotten something by them saying that that

    12    is not the competing product?

    13             MS. CONSTANTINE:     This is actually the first time I get

    14    to hear that virtualization is not a competing product, your

    15    Honor.

    16             However, if they don't have anything that competes

    17    virtualization-related, then the answer to this response should

    18    have been "none," not a list of objections and then -- well, it

    19    says "Apple will not produce."       But if there's no documents

    20    relating to virtualization, which they have claimed now that

    21    they don't have, then the response should be "none."

    22             THE COURT:    I think that's what they said.       They didn't

    23    say they don't have any documents relating to virtualization,

    24    because I'm sure Apple in-house does virtualization.          It would

    25    seem to me that they would.
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     1               But what they're saying is that's not the competing

     2    product.    The competing products are alleged in their

     3    complaint.

     4               If your request for production went to the competing

     5    products they allege in their complaint, I think they have to

     6    produce that.

     7               But if they're saying here on the record that

     8    virtualization is not the competing product, why would we want

     9    discovery on it?    It seems like you've already gotten them to

    10    state that is not the competing product.        So why do you need to

    11    get discovery to prove something that's not a competing

    12    product?    I'm having a real hard time with this.

    13               MS. CONSTANTINE:      I understand, your Honor.

    14               In the complaint, it wasn't clear what they were

    15    claiming was the competing product.

    16               Now they have made that clear.     They have clarified.

    17               THE COURT:    Okay.

    18               MS. CONSTANTINE:      So for --

    19               MR. LEVINE:   Just so it's clear on the record, your

    20    Honor, we'll back away from this.

    21               THE COURT:    All right.   I'm going to deny the motion to

    22    compel on that interrogatory and just -- I'll just note on the

    23    record that -- what the statement just said.

    24               MS. STEBBINS BINA:     And, your Honor, I think that

    25    covers 20 to 23 and 87 to 92.
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     1    soon as we get them all done.

     2              And then just keep in mind we need to be back here --

     3    we need to have all this production done by the 24th and then

     4    we'll be back here on the 27th at 10:00 a.m.         All right?

     5              MR. LEVINE:    Thank you, your Honor.

     6              MS. STEBBINS BINA:     Your Honor, thank you.

     7              THE COURT:    Have a good day.

     8              MS. STEBBINS BINA:     Thank you.

     9              THE COURT:    Court's in recess.

    10              (Proceedings concluded.)

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    13
                                  C E R T I F I C A T E
    14

    15                I hereby certify that the foregoing is an

    16    accurate transcription of the proceedings in the

    17    above-entitled matter to the best of my ability.

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    19
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